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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

 Civil Action No. 05-CV-00663 -RPM


 Steve Stumbo,

 Plaintiff,

 v.

 Ameristep Corporation

 Defendant.

 AND

 Civil Action No. 05-CV-00664-RPM


 Steve Stumbo,

 Plaintiff,

 v.

 Eastman Outdoors, Inc.

 Defendant.


                                       PROTECTIVE ORDER


         By consent of the parties, as indicated in the signature blocks below, and pursuant to

 FED. R. Civ. P. 26(c);

         IT IS HEREBY ORDERED THAT:

         1.               “Confidential Information” refers to information that constitutes, concerns

 or relates to either a trade secret , proprietary confidential business information, or any other

 information in the possession of the producing party which, if disclosed to the general public,
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 could result in injury to or the liability of the producing party. “Confidential-Attorneys’ Eyes

 Only Information” refers to Confidential Information, the disclosure of which is likely to have

 the effect of causing competitive harm to the party from which the information was obtained or

 the disclosure of which would be violative of an obligation of confidentiality to a third person

 and/or the competitive position of such third party.

        2.              Any information produced at any time during the course of this litigation,

 either voluntarily, in response to discovery requests or subpoena, or pursuant to court order,

 whether in the form of testimony or in a writing or in graphic or pictorial image or electronically,

 which is asserted by the producing party to contain or constitute either Confidential Information

 or Confidential- Attorneys’ Eyes Only Information (collectively, “Protected Information”), shall

 be designated by such producing party in writing, as follows:

                (a)            The producing party shall, with respect to Protected Information

                        contained in deposition testimony, designate on the record at the time of

                        the deposition the relevant portion of the deposition and whether such

                        portion is being designated as Confidential- Attorneys’ Eyes Only or as

                        ordinary Confidential Information. If the deposition is being transcribed,

                        the producing party may instead designate Protected Information

                        contained therein by notifying the other party in writing, within thirty (30)

                        days of receipt of the transcript, of the specific pages and lines of the

                        transcript that contain Protected Information and whether each such

                        portion is being designated as Confidential- Attorneys’ Eyes Only or as

                        ordinary Confidential Information.       If such Protected Information is

                        contained in trial or other non-deposition testimony, the transcript may be

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                        designated as containing Confidential Information in accordance with this

                        Order by notifying the other party in writing, within thirty (30) days of

                        receipt of the transcript of the specific pages and lines of the transcript

                        which contain Confidential Information.

                (b)             The producing party shall, with respect to documents and other

                        tangible things, clearly and prominently mark those portions containing

                        Protected         Information          with      either      the     legend:

                        “CONFIDENTIAL—SUBJECT                 TO     PROTECTIVE         ORDER”       or

                        “CONFIDENTIAL—ATTORNEYS’ EYES                       ONLY—SUBJECT            TO

                        PROTECTIVE ORDER”, as appropriate.

        3.              Any Protected Information submitted to the Court in written form in

 connection with a motion or other proceeding shall be submitted under seal, bearing either of the

 above-two legends. If at the trial of this action, or in connection with any public hearing relating

 to this action before any judicial officer, a party anticipates using any Protected Information, the

 party shall give prior notice of such use to counsel for the opposing party to permit the opposing

 party the opportunity to obtain appropriate protection from the Court, including a request to the

 Court that the courtroom be cleared and that the court employees be advised as to the terms of

 this Order. A party may forego providing prior notice for any motion, brief or other document

 filed with the Court if the applicable portion of said document which contains the Protected

 Information is either redacted or filed under seal.

        4.              In the absence of written permission from the producing party or further

 order of the Court, any Protected Information produced in accordance with this Order shall not

 be disclosed to any person other than to: (i) counsel for the parties to this litigation; (ii) a single

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 representative of each party, who executes an agreement to be bound by this Order and provides

 it to the producing party prior to receiving such Protected Information; (iii) any experts retained

 by the parties and members of their staffs, so long as each executes an agreement to be bound by

 this Order and provides it to the producing party prior to receiving such Protected Information;

 (iv) qualified stenographer and/or videographer taking testimony involving such documents or

 information and necessary stenographic and clerical personnel thereof; and (v) the Court,

 including necessary personnel assisting the Court. Any Confidential – Attorneys’ Eyes Only

 Information produced in accordance with this Order shall not be disclosed to any person other

 than those identified in categories (i),(iv) and (v) above. Confidential - Attorneys’ Eyes Only

 Information may also be produced to experts retained by the parties and members of their staffs,

 subject to the provisions below so long as each executes an agreement to be bound by this Order

 and provides it to the producing party prior to receiving such Protected Information; and

 provided that the experts and their staff do not disclose such information to any person other

 than those individual identified in categories (i)(iv) or (v) above. In the event that Protected

 Information shall be disclosed or used at a deposition, attendance at a deposition shall be limited

 to persons authorized to receive Protected Information pursuant to the provisions of this

 paragraph 4.

        In the event a receiving party intends to produce Protected Information to an expert as

 provided above, no less than ten (10) days prior to the initial disclosure to a proposed expert (or

 any member of their staff) of any Protected Information, the party proposing to make such

 disclosure shall submit to the producing party in writing the name of such proposed expert or

 consultant, a copy of such proposed expert or consultant’s curriculum vitae and the expert and

 his/her staff’s agreement to be bound by this Order. If the producing party objects to the

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 disclosure of such Protected Information to such proposed expert as inconsistent with the

 language or intent of this Order or for other good and sufficient cause, it shall notify the party

 proposing to use such expert in writing of its objection and the grounds therefore within ten (10)

 days. If the dispute is not resolved on an informal basis within ten (10) days of receipt of such

 notice of objections, the producing party shall submit immediately each objection to the Court

 for a ruling. The submission of such Protected Information to such proposed expert shall be

 withheld pending resolution of any objections or the ruling of the Court.

        5.              All Protected Information produced in accordance with this Order shall

 be utilized solely for purposes of this litigation and any use for or in connection with research,

 development, manufacture, sales or marketing of any product or process will constitute a

 violation of this Order and is expressly prohibited. Further, any settlement agreement between

 Plaintiff and Double Bull Archery, Inc. which is produced in accordance with this Order shall be

 utilized solely for purposes of this litigation for issues of standing and damages.

        6.              Within two weeks of the final termination of this litigation, counsel shall

 return to the producing party all items containing the producing party’s Protected Information

 produced in accordance with this Order, including all copies of such matter which may have

 been made, but not including copies containing notes or other attorney work product that may

 have been placed thereon by counsel for the receiving party. All copies containing notes or other

 attorney’s work product shall be destroyed. As an alternative to the return of all such Protected

 Information (excepting copies containing notes or attorney work product), the recipient may by

 letter certify to the producing party that all items containing such Protected Information have

 been destroyed. After the return or destruction of items containing Protected Information, the

 receiving party through counsel shall by letter certify that all items containing the producing

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 party’s Protected Information have been returned and/or destroyed, respectively. Receipt of all

 material returned to the producing party shall be acknowledged in writing. Notwithstanding the

 preceding sentences of this paragraph, one complete set of pleadings may be retained by each

 party’s counsel, but pleadings which contain Protected Information shall remain subject to the

 provisions of this Order.

        7.              If any Protected Information is produced by a nonparty to this litigation,

 such a nonparty shall be considered a “producing party” within the meaning of that term as it is

 used in the context of this Order.

        8.              A producing party may produce for inspection documents or things

 containing Protected Information that are not marked or designated in accordance with

 paragraph 2, and prior to supplying copies of documents and things requested by the inspecting

 party, may mark or designate such copies as containing Confidential Information in accordance

 with paragraph 2. In addition, the inadvertent failure to mark or designate documents and things

 as Confidential Information does not constitutes a waiver of subjecting such Confidential

 Information to this Protective Order so long as the producing party marks such information as

 “Confidential Information” as soon as such party has knowledge of the failure to mark such

 information and shall take all appropriate steps to prevent the Confidential Information from

 being disclosed to persons other than those identified in paragraph 4, including, if necessary,

 seeking a Court order to have such persons return all Protected Information and to prohibit any

 use or disclosure as set forth in this Protective Order. Production of documents and things for

 the purpose of inspection and copying shall not constitute a waiver of confidentiality, privilege

 or other ground of immunity from discovery as to any other Protected Information.



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        9.              Any receiving party who objects to a designation under this Order may

 request that the producing party explain the basis for the designation or remove the designation.

 If, after five business days have elapsed since the request the receiving party is not satisfied with

 the response (or lack thereof), the receiving party may file a motion with the Court seeking as

 relief the removal of the designation. The challenged designation shall be respected by all

 parties unless and until the Court orders the designation to be removed or changed.

        10.             The designation of the Confidential Information in accordance with this

 Order as constituting or containing trade secrets or proprietary confidential business information

 is intended solely to facilitate the preparation and trial of this action, and treatment of such

 material by counsel of record for named parties in conformity with such designation will not be

 construed in any way as an admission or agreement by any party that the designated material

 constitutes or contains any trade secret or confidential information in contemplation of law.

 Nothing in this Order shall be construed to affect the admissibility or relevancy of any material,

 nor the right of any party to challenge the admissibility or relevancy of any material.

        11.             Legible photocopies of documents and, where reasonably possible, things,

 may be used for all purposes in this action as against a claim that they are not the “originals”,

 provided that the “original” document, in whatever form it shall be found in the files of a party,

 and the original things shall be made available for inspection upon request of either party on 10

 days notice.

        12.             Nothing in this Order shall be deemed a waiver of any right any party

 otherwise might have under the Federal Rules or the doctrines of attorney-client privilege or

 attorney work product.



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        13.           This Order shall survive the final termination of this action with respect to

 any Protected Information.

 ENTERED:



 Dated: _______________________


                                             _________________________________
                                             BY: U.S. DISTRICT COURT JUDGE




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